Case 7:24-cv-00279-ADA   Document 1-12   Filed 11/04/24   Page 1 of 11




         Exhibit L
                                Case 7:24-cv-00279-ADA            Document 1-12         Filed 11/04/24     Page 2 of 11
EXHIBIT L - U.S. PATENT NO. 11,620,634                                                                                                          Page 1 of 10

                                                          Exhibit L - U.S. Patent No. 11,620,634

Claim No.                      Apple Pay and/or Apple Wallet-Enabled Computing Device
1[Pre]: A method of generating An Apple Pay and/or Apple Wallet-enabled computing device practices a method of generating and using limited-use payment
and using limited-use payment information for performing a payment transaction.
information for performing a
payment transaction, the
method comprising:




                               See, e.g., Apple Pay, Apple, https://www.apple.com/apple-pay/.


                                                                                                             [. . .]




                               See, e.g., Apple Pay security and privacy overview, Apple (Oct. 8, 2024), https://support.apple.com/en-us/101554; Apple
                               Platform Security, Payment authorization with Apple Pay, Apple (Feb. 18, 2021), https://support.apple.com/guide/security/
                               payment-authorization-with-apple-pay-secc1f57e189/web; How to make purchases with Apple Card, Apple (Aug. 30, 2024),
                               https://support.apple.com/en-us/104951 (“Pay with Apple Card anywhere Apple Pay is accepted, and use the titanium card or
                               virtual card number anywhere Mastercard is accepted.”); Apple Cash, Apple, https://www.apple.com/apple-cash/ (“When you
                               make a purchase with Apple Pay, it uses a device-specific number and unique transaction code.”).
                                  Case 7:24-cv-00279-ADA            Document 1-12         Filed 11/04/24       Page 3 of 11
EXHIBIT L - U.S. PATENT NO. 11,620,634                                                                                                               Page 2 of 10

Claim No.                        Apple Pay and/or Apple Wallet-Enabled Computing Device
1[a]: receiving an input at an   An Apple Pay and/or Apple Wallet-enabled device is an electronic device that receives an input wherein the input comprises a
electronic device, wherein the   priming operation.
input comprises a priming
operation, and,




                                 See, e.g., Make purchases using Apple Pay, Apple (Sept. 24, 2024), https://support.apple.com/en-us/102626.
                                 Case 7:24-cv-00279-ADA            Document 1-12           Filed 11/04/24    Page 4 of 11
EXHIBIT L - U.S. PATENT NO. 11,620,634                                                                                                             Page 3 of 10

Claim No.                       Apple Pay and/or Apple Wallet-Enabled Computing Device
1[b]: wherein the electronic    An Apple Pay and/or Apple Wallet-enabled computing device is an electronic device that includes a processor and a touch-screen
device comprises:               display coupled to the processor.

1[c]: a processor;

1[d]: a touch-screen display
coupled to the processor; and




                                                                                                                 [. . .]


                                See, e.g., iPhone, Apple, https://www.apple.com/iphone/.




                                See, e.g., Compare iPhone Models, Apple, https://www.apple.com/iphone/compare/.
                                Case 7:24-cv-00279-ADA             Document 1-12         Filed 11/04/24       Page 5 of 11
EXHIBIT L - U.S. PATENT NO. 11,620,634                                                                                                             Page 4 of 10

Claim No.                      Apple Pay and/or Apple Wallet-Enabled Computing Device




                                                                                                                [. . .]




                               See, e.g., Watch, Apple, https://www.apple.com/watch/.




                               See, e.g., Apple Platform Security, How Apple Pay keeps users’ purchases protected, Apple (Feb. 18, 2021),
                               https://support.apple.com/guide/security/how-apple-pay-keeps-users-purchases-protected-seccb53a35f0/web.
1[e]: a near field             An Apple Pay and/or Apple Wallet-enabled device includes a near field communications (NFC) interface coupled to the
communications (NFC)           processor.
interface coupled to the
processor;




                               See, e.g., Apple Pay security and privacy overview, Apple (Oct. 8, 2024), https://support.apple.com/en-us/101554.
                                Case 7:24-cv-00279-ADA            Document 1-12         Filed 11/04/24      Page 6 of 11
EXHIBIT L - U.S. PATENT NO. 11,620,634                                                                                                            Page 5 of 10

Claim No.                      Apple Pay and/or Apple Wallet-Enabled Computing Device




                               See, e.g., Apple Pay component security, Apple (May 13, 2022), https://support.apple.com/guide/security/apple-pay-component-
                               security-sec2561eb018/web.
1[f]: responsive to said       An Apple Pay and/or Apple Wallet-enabled device receives an input at an electronic device corresponding to a priming operation
priming operation, readying    of the electronic device by an authorized user.
said device to perform a
payment transaction by an
identified user;
                                   Case 7:24-cv-00279-ADA             Document 1-12         Filed 11/04/24       Page 7 of 11
EXHIBIT L - U.S. PATENT NO. 11,620,634                                                                                                                Page 6 of 10

Claim No.                         Apple Pay and/or Apple Wallet-Enabled Computing Device




                                  See, e.g., Make purchases using Apple Pay, Apple (Sept. 24, 2024), https://support.apple.com/en-us/102626.
1[g]: receiving a payment         An Apple Pay and/or Apple Wallet-enabled device receives a payment request for the payment transaction at said electronic
request for the payment           device and displays, on the touch-screen display, information reflecting the payment request, and an image representing a
transaction at said electronic    selected issued payment account.
device;

1[h]: displaying, on the touch-
screen display, information
reflecting the payment request,
and an image representing a
selected issued payment
account;

                                  See, e.g., Apple Pay security and privacy overview, Apple (Oct. 8, 2024), https://support.apple.com/en-us/101554.
                                Case 7:24-cv-00279-ADA            Document 1-12         Filed 11/04/24       Page 8 of 11
EXHIBIT L - U.S. PATENT NO. 11,620,634                                                                                                      Page 7 of 10

Claim No.                      Apple Pay and/or Apple Wallet-Enabled Computing Device




                               See, e.g., Make purchases using Apple Pay, Apple (Sept. 24, 2024), https://support.apple.com/en-us/102626.
                                   Case 7:24-cv-00279-ADA            Document 1-12         Filed 11/04/24      Page 9 of 11
EXHIBIT L - U.S. PATENT NO. 11,620,634                                                                                                               Page 8 of 10

Claim No.                         Apple Pay and/or Apple Wallet-Enabled Computing Device




                                  See, e.g., The MacWhisperer Academy, How to Use Apple Pay, YouTube (Aug. 3, 2024), https://www.youtube.com/
                                  watch?v=v7hJuzw8FC0.
1[i]: dynamically generating,     An Apple Pay and/or Apple Wallet-enabled computing device dynamically generates by a processor of the device, limited-use
by the processor, limited-use     payment information. wherein said limited-use payment information is dynamically generated based on a per-transaction
payment information;              sequential parameter originating from the electronic device.

1[j]: wherein said limited-use
payment information is                                                                                                   [. . .]
dynamically generated based
on a per-transaction sequential
parameter originating from the
electronic device;

                                  See, e.g., Apple Pay security and privacy overview, Apple (Apr. 12, 2024), https://support.apple.com/en-us/101554; How to make
                                  purchases with Apple Card, Apple (Aug. 30, 2024), https://support.apple.com/en-us/104951 (“Pay with Apple Card anywhere
                                  Apple Pay is accepted, and use the titanium card or virtual card number anywhere Mastercard is accepted.”); Apple Cash, Apple,
                                  https://www.apple.com/apple-cash/ (“When you make a purchase with Apple Pay, it uses a device-specific number and unique
                                  transaction code.”).
                                 Case 7:24-cv-00279-ADA             Document 1-12         Filed 11/04/24       Page 10 of 11
EXHIBIT L - U.S. PATENT NO. 11,620,634                                                                                                               Page 9 of 10

Claim No.                        Apple Pay and/or Apple Wallet-Enabled Computing Device




                                 See, e.g., Apple Platform Security, Payment authorization with Apple Pay, Apple (Feb. 18, 2021), https://support.apple.com/
                                 guide/security/payment-authorization-with-apple-pay-secc1f57e189/web.
1[k]: using said limited-use     An Apple Pay and/or Apple Wallet-enabled device uses said limited-use payment information in connection with the payment
payment information in           transaction in place of issued payment information associated with said selected issued payment account.
connection with the payment
transaction in place of issued
payment information                                                                                               [. . .]
associated with said selected
issued payment account;



                                 See, e.g., Apple Pay security and privacy overview, Apple (Oct. 8, 2024), https://support.apple.com/en-us/101554; Apple
                                 Platform Security, Payment authorization with Apple Pay, Apple (Feb. 18, 2021), https://support.apple.com/guide/security/
                                 payment-authorization-with-apple-pay-secc1f57e189/web.
1[l]: transmitting said limited- The Apple Pay and/or Apple Wallet-enabled device transmits said limited-use payment information from said electronic device
use payment information from via said NFC interface for receipt by an NFC recipient.
said electronic device via said
NFC interface for receipt by an
NFC recipient;




                                 See, e.g., Apple Pay security and privacy overview, Apple (Oct. 8, 2024), https://support.apple.com/en-us/101554.
                                 Case 7:24-cv-00279-ADA              Document 1-12         Filed 11/04/24        Page 11 of 11
EXHIBIT L - U.S. PATENT NO. 11,620,634                                                                                                                  Page 10 of 10

Claim No.                        Apple Pay and/or Apple Wallet-Enabled Computing Device
1[m]: responsive to the          Responsive to the transmitting the limited-use payment information, an Apple Pay- and/or Apple Wallet-enabled computing
transmitting the limited-use     device receives via the NFC interface information reflecting a status of said payment transaction; and displaying the status of
payment information,             said payment transaction via said touch-screen display.
receiving via the NFC
interface information reflecting
a status of said payment
transaction; and displaying the
status of said payment
transaction via said touch-
screen display.




                                 See, e.g., Make purchases using Apple Pay, Apple (Sept. 24, 2024), https://support.apple.com/en-us/102626.
